      Case 2:11-cr-00009-JMS-CMM                           Document 776               Filed 04/19/16         Page 1 of 1 PageID #:
                                                                 5033
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)      Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                        Southern District
                                                      __________ District of
                                                                          ofIndiana
                                                                             __________

                    United States of America
                               v.                                          )
                          Jesus L. Ramos                                   )
                                                                           )    Case No: 2:11CR00009-002
                                                                           )    USM No: 11578-027
Date of Original Judgment:                            03/13/2012           )
Date of Previous Amended Judgment:                                         )    Sara J. Varner
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney


                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of ✔   u the defendant u the Director of the Bureau of Prisons u the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
           u DENIED. u       ✔ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of   168                     months is reduced to 135 months                           .
                                             (Complete Parts I and II of Page 2 when motion is granted)




                                                                                                                    A CERTIFIED TRUE COPY
                                                                                                                    Laura A. Briggs, Clerk
                                                                                                                    U.S. District Court
                                                                                                                    Southern District of Indiana

                                                                                                                    By
                                                                                                                                          Deputy Clerk




Except as otherwise provided, all provisions of the judgment dated                          03/13/2012        shall remain in effect.
IT IS SO ORDERED.

Order Date:           April 19, 2016
                                                                                  _______________________________

Effective Date:                                                                      Hon. Jane Magnus-Stinson, Judge
                     (if different from order date)                                  United States District Court
                                                                                     Southern District of Indiana
